             IN THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:15-cr-00085-MR-DLH


UNITED STATES OF AMERICA,            )
                                     )
                        Plaintiff,   )
                                     )
                   vs.               )            ORDER
                                     )
(4) ANNA MARIE POSTELL COCHRAN;      )
(5) THOMAS BART COCHRAN;             )
(6) JEREMIAH JEROME GIBBY;           )
(7) HOKE BENJAMIN CALEB HAYES;       )
(8) BRYAN KEITH JENKINS;             )
(9) RAY CHAD LEQUIRE;                )
(10) AMANDA BROOKE McKINNEY;         )
(11) MIRANDA NATIONS;                )
(12) TAMMIE LYNN PAYNE;              )
(13) BRANDI LYNN SMITH;              )
(14) GREGORY DANIEL STEEDLY; and     )
(15) CAIN HAMILTON STRICKLAND,       )
                                     )
                        Defendants.  )
____________________________________ )


     THIS MATTER is before the Court on the motions to continue filed by

Defendants Cain Hamilton Strickland, Tammie Lynn Payne, Ray Chad

Lequire, Brandi Lynn Smith, Amanda Brooke McKinney, Jeremiah Jerome

Gibby, and Miranda Nations. [Docs. 271, 276, 277, 279, 280, 281, 284].

Defendant Anna Marie Postell Cochran moves to join her co-defendants’

request for a continuance [Doc. 272].    Additionally, Defendants Hoke


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Benjamin Caleb Hayes and Anna Marie Postell Cochran also move for an

extension of the deadline to file plea agreements in this matter. [Docs. 278,

283].

        On September 15, 2015, the above-referenced Defendants were

charged in an eleven-count Bill of Indictment with, inter alia, conspiracy to

distribute   and    possess    with   intent   to   distribute   a   quantity      of

methamphetamine, in violation of 21 U.S.C. § 846. [Doc. 3]. The Defendants

are currently scheduled for trial during the April 25, 2016 trial term.

        The above referenced Defendants now move for a continuance of the

trial, citing among other reasons the need for additional time to review the

extensive discovery produced by the Government and to engage in plea

negotiations and/or prepare for trial. The Government does not oppose the

requested continuance.

        For all of the reasons cited by the Defendants, the Court finds that if

the requested continuance were not granted, counsel would be denied “the

reasonable time necessary for effective preparation, taking into account the

exercise of due diligence.” 18 U.S.C. § 3161(h)(7)(B)(iv). The Court further

finds that failure to continue these cases would result in a miscarriage of

justice. See 18 U.S.C. § 3161(h)(7)(B)(i). Because no motion for severance


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has been granted, the continuance of the moving Defendants justifies the

continuance of their co-defendants as well. See 18 U.S.C. § 3161(h)(6)

(allowing for exclusion of “a reasonable period of delay when the defendant

is joined for trial with a codefendant as to whom the time for trial has not run

and no motion for severance has been granted”). For the reasons stated

herein, the ends of justice served by the granting of the continuance

outweigh the best interests of the public and the Defendants in a speedy trial.

See 18 U.S.C. § 3161(h)(7)(A).

      Accordingly, IT IS, THEREFORE, ORDERED that the motions to

continue filed by Defendants Cain Hamilton Strickland, Tammie Lynn Payne,

Ray Chad Lequire, Brandi Lynn Smith, Amanda Brooke McKinney, Jeremiah

Jerome Gibby, Miranda Nations, and Anna Marie Postell Cochran [Docs.

271, 272, 276, 277, 279, 280, 281, 284] are GRANTED, and the trial of all of

the above-captioned Defendants is hereby CONTINUED from the April 25,

2016 term in the Asheville Division.

      IT IS FURTHER ORDERED that the motions filed by Defendants Hoke

Benjamin Caleb Hayes and Anna Marie Postell Cochran for an extension of

the deadline to file plea agreements in this matter [Docs. 278, 283] are

GRANTED. Per the Standard Arraignment Order entered in this case, the


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plea agreement filing deadline is extended to the third Friday before the June

20, 2016 calendar call.

     IT IS SO ORDERED.
                                    Signed: April 12, 2016




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